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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 IMPLICIT, LLC,                                 §
      Plaintiff,                                §
                                                §
 v.                                             §
                                                §
 IMPERVA, INC.                                  §
                                                          Case No. 2:19-cv-00040-JRG-RSP
                                                §
                                                                    LEAD CASE
                                                §
 FORTINET, INC.                                 §
                                                          Case No. 2:19-cv-00039-JRG-RSP
                                                §
                                                §
 JUNIPER NETWORKS, INC.                         §
                                                          Case No. 2:19-cv-00037-JRG-RSP
                                                §
                                                §


                  PLAINTIFF IMPLICIT, LLC’s NOTICE OF COMPLIANCE

        Plaintiff Implicit, LLC (“Plaintiff” or “Implicit”), pursuant to the Court’s Third Amended

 Docket Control Order (Dkt. 152) dated October 25, 2019, hereby provides notice to the Court that

 on November 4, 2019, Plaintiff served counsel for Defendants Imperva, Inc., Fortinet, Inc., and

 Juniper Networks, Inc. (collectively “Defendants”) with its P.R. 4-2 Preliminary Claim

 Constructions.

  Dated: November 5, 2019                           Respectfully submitted,

                                                    By: /s/ Francesca Miki Shima Germinario

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                                                    Counsel for Plaintiff Implicit, LLC

                                   CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document is being filed electronically in compliance

 with Local Rule CV-5(a). As such, on this 5th day of November, 2019, this document is being served on

 all counsel, who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(V).

                                                       /s/ Francesca Miki Shima Germinario
                                                       Francesca Miki Shima Germinario




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